_ ae SHAUN A HAYDEN
oy mo Offender ID: 0174678
Inmate Status: ACTIVE
Gender: MALE
Race: BLACK
Ethnic Group: UNKNOWN
Birth Date: 10/06/1966
Age: 48
Current Location: AVERY-MITCHELL Cl

STAAL: OB iets
A AIRS HEAELGE
HAYDEN | [SHAUN

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ncarceration Status: ACTIV . Total incarceration Term:
Conviction Date: 03/15/1983 Projected Release Date: LIFE
Primary Crime: SEXUAL OFFENSE 1ST DEGREE (PRINCIPAL) Primary Crime Type: FELON
Special Characteristics: LIFE Current Status: FELON
Admission Date: 03/16/1983 Admission Facility: WESTERN Y!
Control Status: DISCIPLINARY SEGREGATION Next Control Review: 11/22/2014
Custody Classification: MEDIUM Next Custody Review: 02/01/2015
Number Of Infractions: 42 Last Infraction Date: 08/12/2014
Current Location: AVERY-MITCHELL Ct Previous Location: LUMBERTON Cl
Last Movement : RECEIVED FROM LUMBERTON C! Last Movement Date: 09/16/2014
Escapes?: N

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_ DESIR RTE
Sentence Number: BA-001 Commitment Type: INMATE
Conviction Date: 03/15/1983 County Of Conviction: IREDELL
Service Status: ACTIVE Sentence Begin Date: 03/15/1983
10-Nov-14 Page 7

Report Name: Offender Information

EXHIBIT

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Sentence Status: ACTIVE Actual Release Date:
Punishment Type: FAIR FELONS Projected Release Date: LIFE
Sentence Type 1: DEPT OF CORR DIV OF PRISONS
Sentence Type 2: LIFE SENTENCE
Minimum Term: Maximum Term: LIFE
Wipte
INTIAL 82010385 [SEXUAL OFFENSE 1ST DEGREE (PRINCIPAL) [08/21/1982 FELON ICLASS B
CONSOLIDATED FOR JUDGMENT 82007297 [BURGLARY 1ST DEGREE (PRINCIPAL) 5/23/1982 FELON CLASS C
CONSOLIDATED FOR JUDGMENT [82007208 RAPE FIRST DEGREE (ATTEMPTED) 5/23/1982 FELON |CLASS F
CONSOLIDATED FOR JUDGMENT 2009358 |SEXUAL OFFENSE 2ND DEGREE (PRINCIPAL) [04/29/1982 FELON (CLASS D
CONSOLIDATED FOR JUDGMENT 82009359 |RAPE SECOND DEGREE (ATTEMPTED) 4/29/1982 FELON (CLASS H
CONSOLIDATED FOR JUDGMENT 2010384 JAWDWWITKISI (PRINCIPAL) 08/21/1982 FELON {CLASS F
CONSOLIDATED FOR JUDGMENT 182010386 [FELONY B&E (PRINCIPAL) 4/29/1982 FELON (CLASS H
CONSOLIDATED FOR JUDGMENT 82010386 JLARCENY OVER $1000 (PRINCIPAL) 4/29/1982 FELON ICLASS H
CONSOLIDATED FOR JUDGMENT 82010387 (RAPE FIRST DEGREE (PRINCIPAL) 8/21/1982 FELON [CLASS B
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Report Name: Offender information
NC DPS Offender Public Information

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Offender Public Information

DPS-

View Offender Sentence Component

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Offender Search Escapes/Captures Absconders Inmate Releases Downloads

Back To Offender Information

Offender Infractions

Offender Number: 0174678 Offender Name: SHAUN A HAYDEN

Infraction Date

Infraction Type

08/12/2014 DISOBEY ORDER

01/16/2010 DISOBEY ORDER

07/13/2005 DISOBEY ORDER

08/27/2003 DISOBEY ORDER

02/25/2001 GAMBLING

01/22/2001 PROFANE LANGUAGE
02/12/2000 SEXUAL ACT

08/15/1999 DISOBEY ORDER

05/18/1997 NO THREAT CONTRABAND
05/18/1997 ATTEMPT CLASS B OFFENSE
04/23/1997 FIGHTING

04/03/1997 UNAUTHORIZED LEAVE
09/04/1996 PROFANE LANGUAGE
06/18/1996 SUBSTANCE POSSESSION
08/19/1995 DISOBEY ORDER

06/15/1995 BARTER/TRADE/LOAN MONEY
04/30/1994 NEGLIGENTLY PERFORM DUTIES
03/27/1994 ATTEMPT CLASS C OFFENSE
03/04/1994 THEFT OF PROPERTY
03/04/1994 DISOBEY ORDER

02/06/1994 THEFT OF PROPERTY
09/22/1993 DISOBEY ORDER

04/19/1993 DISOBEY ORDER

03/30/1992 UNKEMPT ROOM

10/27/1991 CREATE OFFENSIVE CONDITION
10/21/1991 DISOBEY ORDER

12/15/1990 ASSAULT INMATE W/SEX INT

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11/10/2014
NC DPS Offender Public Information Page 2 of 2
09/10/1990 WEAPON POSSESSION
02/23/1990 DISOBEY ORDER .

08/22/1989 SUBSTANCE POSSESSION
04/05/1989 FIGHTING

02/06/1989 DISOBEY ORDER
02/02/1989 SUBSTANCE POSSESSION
08/16/1988 FIGHTING

05/04/1988 DISOBEY ORDER
10/10/1986 SEXUAL ACT

08/13/1986 FIGHTING

07/30/1986 DISOBEY ORDER °
05/31/1986 ATTEMPT CLASS B OFFENSE
05/28/1986 DISOBEY ORDER
04/18/1986 ILLEGAL CLOTH/LINEN/SHEETS
10/19/1985 VERBAL THREAT

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